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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,                                )
ex rel. ERIC S. SCHMITT, in his official              )
capacity as Missouri Attorney General,                )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )       Case No. 1:20-cv-00099-SNLJ
                                                      )
THE PEOPLE’S REPUBLIC OF CHINA,                       )
THE COMMUNIST PARTY OF CHINA,                         )
NATIONAL HEALTH COMMISSION                            )
OF THE PEOPLE’S REPUBLIC OF                           )
CHINA, MINISTRY OF EMERGENCY                          )
MANAGEMENT OF THE PEOPLE’S                            )
REPUBLIC OF CHINA, MINISTRY OF                        )
CIVIL AFFAIRS OF THE PEOPLE’S                         )
REPUBLIC OF CHINA, PEOPLE’S                           )
GOVERNMENT OF HUBEI                                   )
PROVINCE, PEOPLE’S GOVERNMENT                         )
OF WUHAN CITY, WUHAN INSTITUTE                        )
OF VIROLOGY, and CHINESE                              )
ACADEMY OF SCIENCES,                                  )
                                                      )
        Defendants.                                   )

       PROOF OF SERVICE ON DEFENDANTS COMMUNIST PARTY OF CHINA,
     CHINESE ACADEMY OF SCIENCES, AND WUHAN INSTITUTE OF VIROLOGY

I, D. John Sauer, counsel for Plaintiff, swear or affirm as follows:

        1. On May 11, 2021, this Court granted Plaintiff’s motion for alternative methods of

service, and ordered that “plaintiff may serve defendants the Communist Party of China, the

Wuhan Institute of Virology, and the Chinese Academy of Sciences by providing translations into

simplified Chinese of the Complaint and Summons by email at publicly available email addresses

provided by those organizations . . . .” ECF No. 22, at 7.




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       2. On May 18, 2021, pursuant to that Order, the undersigned counsel effected service on

the Communist Party of China by emailing copies of the Complaint and the two summonses for

that defendant—translated into simplified Chinese by a professional vendor—to a publicly

available email address provided by the People’s Daily Online, the official newspaper of the

Central Committee of the Communist Party of China. The website of the People’s Daily states

that “People’s Daily is an organ newspaper of the Central Committee of the Communist Party of

China.”       See    Introduction,    PEOPLE’S       DAILY   (last   visited   May    18,    2021),

people.com.cn/GB/50142/104580/index.html (English translation).          Consistent with its own

website, the People’s Daily is widely recognized as an official communications organ and

mouthpiece of the Communist Party of China. See, e.g., People’s Daily, WIKIPEDIA (last visited

May 18, 2021), https://en.wikipedia.org/wiki/People%27s_Daily (noting that “[t]he People’s

Daily is . . . an official newspaper of the Central Committee of the Chinese Communist Party,”

and that “[e]ver since its founding, the People’s Daily has been under direct control of the Party’s

top leadership”). The website of the People’s Daily provides the “service email” of kf@people.cn.

See http://cpc.people.com.cn/ (last visited May 18, 2021). Attempts to serve the Communist Party

of China at certain other publicly available email addresses on websites associated with that

organization resulted in rejection notices, but the service emails to kf@people.cn did not result in

a rejection notice. See Service Emails to Communist Party of China at kf@people.cn (attached as

Exhibits A, B, C).

       3. On May 18, 2021, pursuant to the Court’s Order, ECF No. 22, at 7, the undersigned

counsel effected service on the Chinese Academy of Sciences by emailing copies of the Complaint

and the summons for that defendant—in English and in a simplified Chinese translation provided

by a professional vendor—to cas_en@cas.cn, which is identified on the website of the Chinese



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Academy of Sciences as the contact email for the Academy. See About Us, CHINESE ACAD. SCI.

(last visited May 18, 2021), https://english.cas.cn/about_us/contact_us/; see also Service Email to

Chinese Academy of Sciences at cas_en@cas.cn (attached as Exhibit D). No rejection notice was

received for this service email.

        4. On May 18, 2021, pursuant to the Court’s Order, ECF No. 22, at 7, the undersigned

counsel effected service on the Wuhan Institute of Virology (“WIV”) by emailing copies of the

Complaint and the summons to that defendant—in English and in a simplified Chinese translation

provided by a professional vendor—to the Director General of the WIV, Yanyi Wang, and the

Deputy Directors General of the WIV, Peng Gong, Wuxiang Guan, and Gengfu Xiao. See

Directors,     WUHAN       INST.    VIROLOGY,      CAS       (last   visited    May      18,    2021),

http://english.whiov.cas.cn/About_Us2016/Directors2016/ (identifying those individuals as the

Director General and Deputy Directors General of WIV); Research Fellows, WUHAN INST.

VIROLOGY,             CAS               (last      visited           May           18,          2021)

http://www.whiov.cas.cn/sourcedb_whiov_cas/yw/rck/index_65432.html (providing the email

addresses for each of those individuals under their researcher profiles as wangyy@wh.iov.cn,

gongpeng@wh.iov.cn, guanwx@wh.iov.cn, and xiaogf@wh.iov.cn, respectively); see also

Service Email to WIV Directors (attached as Exhibit E). An attempt to email WIV at a generic

email address for that organization posted on its website resulted in a rejection notice, but the email

to the publicly available addresses for the Director General and Deputy Directors General of WIV

did not result in a rejection notice.

        5. In addition, on May 18, 2021, the undersigned counsel emailed copies of the same

service documents for WIV identified in Paragraph 4, supra, to cas_en@cas.cn, which is the

publicly available email address identified on the website of the Chinese Academy of Sciences as



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the contact email for the Academy. See About Us, CHINESE ACAD. SCI. (last visited May 18, 2021),

https://english.cas.cn/about_us/contact_us/. The Wuhan Institute of Virology holds itself out on

its website as a division or department of the Chinese Academy of Sciences. See, e.g., WUHAN

INST. VIROLOGY, CAS, HTTP://ENGLISH.WHIOV.CAS.CN/ (LAST VISITED MAY 18, 2021) (describing

the WIV as “Wuhan Institute of Virology, CAS”—i.e., “Wuhan Institute of Virology, Chinese

Academy of Sciences”—and providing the website’s copyright (which appears throughout the

WIV’s website) as “Wuhan Institute Of Virology, Chinese Academy Of Sciences”); Committees,

WUHAN          INST.     VIROLOGY,        CAS         (last   visited     May       18,      2021),

http://english.whiov.cas.cn/About_Us2016/Committees/ (describing WIV committees as part of

the Chinese Academy of Sciences); About Us, WUHAN INST. VIROLOGY, CAS (last visited May 18,

2021),    http://english.whiov.cas.cn/About_Us2016/Brief_Introduction2016/        (describing   the

Wuhan Institute of Virology as an administered by the Chinese Academy of Sciences, and noting

that, after a period of control by the Hubei Province, WIV “returned to the Chinese Academy of

Sciences” in 1978, and became “known as Wuhan Institute of Virology, Chinese Academy of

Sciences”). The email of WIV’s service documents to cas_en@cas.cn did not result in a rejection

notice. See Service Email of WIV Documents to cas_en@cas.cn (attached as Exhibit F).

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on May 18, 2021                                      /s/ D. John Sauer




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Dated: May 18, 2021                Respectfully submitted,

                                   ERIC S. SCHMITT
                                   ATTORNEY GENERAL

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